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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )       Criminal No. 1:22-cr-00200-APM
                      v.                         )
                                                 )
          PETER K. NAVARRO,                      )
                                                 )
                 Defendant.                      )
                                                 )

              SUPPLEMENT IN SUPPORT OF MOTION FOR NEW TRIAL

       Pursuant to the Court’s October 10, 2023, Minute Order, Dr. Peter K. Navarro, by and

through counsel, submits this supplement in support of his Motion for a New Trial (Oct. 6, 2023)

(ECF No. 138).

       Specifically, the Court has ordered that Dr. Navarro produce evidence supporting his

contention that protestors held signs that related to the content of the information sought from Dr.

Navarro by Congress, including inflammatory statements such as, “Bro, Should’ve Plead the 5th…

Peter 4 Prison,” “Defend Democracy,” and “Free J^ Political Prisoners Now.” The signs in

question can be seen in the following video, which was created to assist defense counsel (and

includes Dr. Navarro’s statements to the press after his conviction): InTrumpTime, Pool Cam

Footage Just Prior to And During Navarro Press Conference, YouTube, available at

https://rumble.com/v3oe44g-pool-cam-footage-just-prior-to-and-during-navarro-press-

conference-post-ver.html (last visited Oct. 11, 2023).

       The Court also ordered that Dr. Navarro produce evidence supporting his contention that

the protestors were actually present when his jurors were paraded out of the Courthouse minutes

before reaching a verdict convicting Dr. Navarro. Principally, this evidence comes from the

video provided by the Court (and identified by the U.S. Marshal’s Service) on September 12,
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2023. 00Jericho, September 7, 2023, DC Courthouse BE STILL BEFORE YHVH AND WAIT

PATIENTLY FOR HIM, Youtube, available at

https://www.youtube.com/watch?v=Q6coGPlUZaM (last visited Oct. 11, 2023). That video,

which was posted on Youtube by user, 00Jericho, was itself recorded by a protestor carrying a

sing that day:




       At approximately counter mark 13:14 in the video, you can see the jury emerge from the

Courthouse and user 00Jericho retrieve his sign (depicted in the very bottom lefthand of the video):




                                                 2
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User 00Jericho’s video also depicts a second protestor walking in front of the Courthouse, as seen

in the reflection of the Courthouse doors at counter mark 14:16:




                                                3
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        Then, at counter mark 14:26, user 00Jericho pans his camera to the reporter pool where a

third protestor is clearly depicted:




                                               4
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Of note, both this protestor and user 00Jericho are wearing t-shirts referencing the death of Ashli

Babbitt on January 6, 2021:




       At this time the jury is still outside and mere yards from the media pool gathered outside

the Courthouse. To that end, at counter mark 15:18, user 00Jericho pans his camera past the

gathered jurors showing just how close to the jurors he was positioned that day:




                                                 5
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       In addition, the Courthouse CCTV footage confirms the proximity of Dr. Navarro’s jury

to the protestors gathered outside the Courthouse that day:




                               [SIGNATURE ON NEXT PAGE]

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Dated: October 11, 2023             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE
        On October 11, 2023, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                              Respectfully submitted,

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